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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

DARRYL MCGORE,
#142739,

       Plaintiff,                                               Civil Action No. 19-CV-11207

vs.                                                             HON. BERNARD A. FRIEDMAN

MICHAEL DUGGAN and
KENNETH SHENK,

       Defendants.
                            /

                                    ORDER OF DISMISSAL

               Plaintiff Darryl McGore is a Michigan prisoner who filed a pro se civil rights

complaint on April 25, 2019. On May 20, 2019, Magistrate Judge R. Steven Whalen issued an

order of deficiency informing plaintiff that if he wishes to proceed in forma pauperis, i.e., without

prepayment of the filing fee,

               within 30 days from the date of this notice, he or she must submit the
               $350.00 filing fee with the additional $50.00 administrative fee ($400.00
               total) or, alternatively, file the required Prisoner’s Application to Proceed
               Without Prepayment of Fees and Costs and Authorization to Withdraw from
               the Trust Fund Account, a current Certification/Business Manager’s
               Account Statement, and a statement of Trust Fund Account (or institutional
               equivalent) for the six-month period immediately preceding the filing of the
               complaint. McGore, 114 F.3d at 605. Should Plaintiff fail to pay the filing
               fee and the administrative fee, or fail to file the required documents as
               described, the Court must presume that he is not proceeding without
               prepayment of the fee, assess the entire fee, and order the case dismissed
               for want of prosecution. Id. If Plaintiff’s action is dismissed under such
               circumstances, it will not be reinstated even if he or she subsequently pays
               the fee. Id.

To date, plaintiff has neither paid the applicable fees nor filed the required documents.

               The Sixth Circuit has explained that
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                [u]nder the Prison Litigation Reform Act (“PLRA”), a prisoner may bring
                a civil action in forma pauperis if he files an affidavit of indigency and a
                certified copy of the trust fund account statement for the six-month period
                immediately preceding the filing of the complaint. See 28 U.S.C.A. §
                1915(a). If the inmate does not pay the full filing fee and fails to provide
                the required documents, the district court must notify the prisoner of the
                deficiency and grant him thirty days to correct it or pay the full fee. See
                McGore v. Wrigglesworth, 114 F.3d 601, 605 (6th Cir. 1997). If the
                prisoner does not comply, the district court must presume that the prisoner
                is not a pauper, assess the inmate the full fee, and order the case dismissed
                for want of prosecution. Id.

Davis v. United States, 73 F. App’x 804, 805 (6th Cir. 2003).

                As noted above, plaintiff has neither paid the filing fee nor applied to proceed in

forma pauperis. The Court has notified plaintiff of the deficiency and has given him thirty days to

cure it. Because this time has elapsed and plaintiff has not complied with the Court’s order, the

Court shall dismiss the complaint without prejudice. See Erby v. Kula, 113 F. App’x 74 (6th Cir.

2004); Davis, 73 F. App’x at 805. Accordingly,



                IT IS ORDERED that plaintiff’s complaint is dismissed without prejudice for

plaintiff’s failure to comply with the Court’s order.



                                                    s/Bernard A. Friedman
Dated: July 8, 2019                                 BERNARD A. FRIEDMAN
        Detroit, Michigan                           SENIOR U.S. DISTRICT JUDGE



                                    CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served upon each attorney or party of
record herein by electronic means or first-class U.S. mail on July 8, 2019.


 Darryl McGor #142739                             s/Johnetta M. Curry-Williams
 Baraga Maximum Correctional Facility             Case Manager
 13924 Wadaga Rd
 Baraga, MI 49908-9204

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